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My understanding of the covenant is, that the appellant was to take proper means, both for himself and others, to *Page 268 
collect the amount of the mortgage. If he omitted for an unreasonable length of time to cause proceedings for foreclosure to be commenced; or if he employed an incompetent solicitor to commence and prosecute them; or if the proceedings, after being commenced, were unduly delayed by his own negligence, or that of his solicitor, his covenant was broken; for in each case, the proper means would not be taken to collect the money. The charge on this branch of the controversy, appears to me to be substantially right.
My impression from an examination of the evidence is, that the charge gave the jury too great a latitude on the subject of damages, but the exception is not sufficiently specific and pointed to reach the error, if one was committed.
Judgment affirmed.